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                  Appendix H: Plaintiffs’ Proposed Special Verdict Forms for
                                 Fraudulent Concealment

  Set forth below are suggested interrogatories that would be presented on Special Verdict Forms at
  Trial. This form is meant to be illustrative only, and not comprehensive. Plaintiffs may suggest
  changes to the special interrogatories herein. Moreover, the absence of any claim or state from the
  suggested classes and subclasses is not intended to constitute a waiver of any claims currently, or in
  the future, brought in this action.

         I. FRAUDULENT CONCEALMENT EXCLUSIVE OR SUPERIOR
                           KNOWLEDGE CLASS
           Plaintiffs claim that FCA fraudulently concealed the Defect from Plaintiffs.

           Do you find by clear and convincing evidence the following:

           (i)       Did FCA conceal a material fact from plaintiffs?

                                   Yes                  No

           (ii)      Did FCA have a duty to disclose the whole truth based on its exclusive or
                     superior level of knowledge?

                                   Yes                  No

           (iii)     Did FCA intend that its concealment be relied on by plaintiffs?

                                   Yes                  No

           (iv)      Did FCA’s conduct cause plaintiffs to justifiably rely on FCA’s silence?

                                   Yes                  No

           (v)       Did FCA’s conduct cause plaintiffs to lose money?

                                   Yes                  No

           (vi)      Have Plaintiffs proved the amount of money lost as a result of FCA’s
                     conduct?

                                   Yes                  No

         If “yes,” complete the following blank: The Court awards damages to Plaintiffs and the
  Fraudulent Concealment Exclusive or Superior Knowledge Class in the amount of
  $______________. (If you answered “no,” do not complete the blank.)



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  Washington and Wisconsin require that the plaintiff was objectively reasonable in relying on FCA’s
  silence (instead of justifiably relying on such silence).

                           (a) Did the Washington and Wisconsin plaintiffs reasonably rely on
                               FCA’s silence?


                                  Yes                    No

                    If “no,” do not include damages in Washington and Wisconsin in your damage
                    award.

  California and Colorado require the plaintiff to prove the foregoing elements based on a
  preponderance of the evidence instead of by clear and convincing evidence.


                           (b) If you find that the plaintiffs did not prove the foregoing elements
                               by clear and convincing evidence, do you nonetheless find that the
                               California and Colorado plaintiffs proved the elements by a
                               preponderance of the evidence?


                                  Yes                    No

                    If “no,” stop. If “yes,” decide whether damages are recoverable by the California
                    and Colorado plaintiffs and subclasses.




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     II. FRAUDULENT CONCEALMENT PARTIAL DISCLOSURE CLASS
           Plaintiffs claim that FCA fraudulently concealed the Defect from Plaintiffs.

           Do you find by a clear and convincing evidence the following:

           (i) Did FCA make a material representation that suppressed the truth or conceal a
              material fact from plaintiffs?

                                 Yes                    No

           (ii) Did FCA have a duty to disclose the whole truth by virtue of making a partial
                disclosure about the safety of the shifter?

                                 Yes                    No

           (iii) Did FCA know that is partial disclosure was untrue?


                                 Yes                    No

           (iv) Did FCA intend that its misrepresentation or concealment be relied on by
                plaintiffs?

                                 Yes                    No

           (v) Did FCA’s conduct cause plaintiffs to justifiably rely on FCA’s
               misrepresentation or silence?

                                 Yes                    No

           (vi) Did FCA’s conduct cause plaintiffs to lose money?

                                 Yes                    No

           (vii) Have Plaintiffs proved the amount of money lost as a result of FCA’s conduct?

                                 Yes                    No

         If “yes,” complete the following blank: The Court awards damages to Plaintiffs and the
  Fraudulent Concealment Partial Disclosure Class in the amount of $______________. (If you
  answered “no,” do not complete the blank.)


  Michigan, New Jersey, Wyoming require that the plaintiff was objectively reasonable in relying on
  FCA’s silence or partial disclosure (instead of justifiably relying on such).


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                           (a) Did the Michigan, New Jersey, and Wyoming plaintiffs reasonably
                               rely on FCA’s silence or partial disclosure?


                                  Yes                    No

                    If “no,” do not include damages in Michigan, New Jersey, or Wyoming in your
                    damage award.

  Florida requires the plaintiff to prove the foregoing elements based on a preponderance of the
  evidence instead of by clear and convincing evidence.

                           (b) If you find that the plaintiffs did not prove the foregoing elements
                               by clear and convincing evidence, do you nonetheless find that the
                               Florida plaintiff proved the elements by a preponderance of the
                               evidence?

                                  Yes                    No

                    If “no,” stop. If “yes,” decide whether damages are recoverable by the Florida
                    plaintiff and subclass.




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